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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WISCONSIN

This Document Relates to:

Pamela Kilty v. Weyerhaeuser Company, et al.                           CASE NO. 3:16-CV-000515
Scott Spatz v. Weyerhaeuser Company, et al.                            CASE NO. 3:16-CV-000726


        WEYERHAEUSER COMPANY’S ITEMIZED CLAIM FOR COSTS AND
              REASONABLE FEES SUBMITTED PURSUANT TO
                  THE COURT’S MARCH 7, 2018 ORDER

       Pursuant to the Court’s March 7, 2018 Order in the above captioned cases, Defendant

 Weyerhaeuser Company, by and through its attorneys, Forman Watkins & Krutz LLP, submits

 the following in support of its Claim for Costs and Reasonable Fees incurred in opposing

 Plaintiffs’ motions for leave to depose Mr. Reno and Mr. Luther outside of discovery.

       On March 7, 2018 this Court entered an order stating that “Defendants may have until

 March 14, 2018 to submit an itemized claim for reasonable costs and fees incurred in opposing

 plaintiffs' motions” to depose Mr. Reno and Mr. Luther. (Dkt. 199- Kilty; Dkt. 151-Spatz.) The

 Court awarded Defendants these sanctions pursuant to Federal Rule of Civil Procedure 37

 because Plaintiffs “did not properly disclose the identities of these two witnesses to defendants

 in a fair, timely or useable fashion,” but instead “waited until the last minute to attempt to squeeze

 in these depositions” in violation of “the preliminary pretrial conference order in each case and

 [] this court's December 22, 2017 text-only order.”

                                            BACKGROUND

       “Under the federal rules, Rule 37 sanctions may include an order to pay the amount of the

reasonable expenses incurred in making the motion for sanctions, including attorney's fees.”

Houston v. C.G. Sec. Services, Inc., 820 F.3d 855, 859 (7th Cir. 2016). The “starting point in a



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district court's evaluation of a fee petition is a lodestar analysis; that is, a computation of the

reasonable hours expended multiplied by a reasonable hourly rate.” Id. (internal citations

omitted) (affirming an award of attorney’s fees based on counsel’s standard hourly rate and

considering counsel’s years of experience).

        As discussed in Weyerhaeuser’s Response to Plaintiffs’ Motion for Leave, Weyerhaeuser

attempted to resolve the issues surrounding Plaintiffs’ untimely disclosure of witnesses for

months prior to the date Plaintiffs filed their Motions. (See Dkt. 197- Kilty; Dkt. 149-Spatz ).

Despite Defendants’ efforts and this Court’s December 22, 2017 order, Plaintiffs were unwilling

to do so and instead engaged in motion practice. See id. On February 28, 2018, Plaintiffs filed

their Motions for Leave to depose their late disclosed witnesses. (Dkt. 192- Kilty; Dkt. 144-

Spatz). In response, Weyerhaeuser drafted and filed its opposition on March 7, 2018. The

standard hourly billing rate for the attorneys involved in drafting Weyerhaeuser’s response in

opposition are $215 (associate) and $300 (partner).

                                         ITEMIZATION OF FEES

        The following fees were incurred in opposing Plaintiffs’ motions to depose the untimely

 disclosed witnesses after the close of discovery in both the Herbert Spatz and the Elvira Kilty

 matters:

 Date     Billed By        Hours Fee      Description
 3/4/2018 Associate           3.8 $817.00 Draft and revise response in opposition to plaintiff's
                                          motion to depose Richard Luther and Charles Reno
                                          after close of discovery in Spatz and Kilty matters,
                                          including drafting statement of facts after reviewing
                                          correspondence with plaintiff's counsel and factual
                                          assertions in plaintiffs' motions

 3/5/2018 Partner              1.6     $480.00 Edit and revise opposition to plaintiffs' motion to take
                                               Luther and Reno depositions




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 3/5/2018 Associate          3.2    $688.00 Research Seventh Circuit case law regarding initial
                                            disclosures and untimely disclosure of witnesses for
                                            further revisions to response in opposition to
                                            plaintiff's motion to depose Richard Luther and
                                            Charles Reno after close of discovery in Spatz and
                                            Kilty matters
 3/6/2018 Partner            0.8    $240.00 Edit opposition to plaintiff's motion for discovery
                                            extension to depose untimely disclosed witnesses
                                            Richard Luther and Charles Reno
 3/6/2018 Associate          2.6    $559.00 Finalize response and supporting exhibits to
                                            opposition to plaintiff's motion to depose Richard
                                            Luther and Charles Reno after close of discovery in
                                            Spatz and Kilty matters
           Costs                            No claim for costs is being submitted
 TOTAL                        12 $2,784.00


       Accordingly, Weyerhaeuser requests that the Court grant fees as itemized above pursuant

to its March 7, 2018 order and provide any other relief it deems necessary.



        Respectfully submitted this, the 14th day of March, 2018.

                                             By: /s/ Tanya D. Ellis
                                                      Tanya D. Ellis


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                                  CERTIFICATE OF SERVICE

       I certify that on March 14, 2018, these papers were filed with the Clerk of the Court for the

United States District Court for the Western District of Wisconsin using the CM/ECF system, which

will send notification of such filing upon all parties who have appeared.


                                                               /s/ Tanya D. Ellis
                                                               Tanya D. Ellis




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